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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-00188-RBJ-1

UNITED STATES OF AMERICA,

      Plaintiff,

v.

ANTHONY ZAGHAB,

      Defendant.


     GOVERNMENT'S MOTION TO GRANT THE DEFENDANT AN ADDITIONAL
          ONE-LEVEL DECREASE PURSUANT TO U.S.S.G § 3E1.1(b)


      The United States of America respectfully moves for an additional one-level

reduction in defendant Anthony Zaghab’s offense level pursuant to Section 3E1.1(b) of

the United States Sentencing Guidelines. Defendant’s agreement to plead guilty and

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timely notice thereof permitted the government to avoid preparing for trial and permitted

both the government and the Court to allocate their resources more efficiently.

                                         Respectfully submitted,

                                         MATTHEW T. KIRSCH
                                         Acting United States Attorney

                                         By: s/ Martha A. Paluch
                                         Martha A. Paluch
                                         By: s/ Rebecca S. Weber
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                         CERTIFICATE OF SERVICE (CM/ECF)

       I hereby certify that on October 29, 2021, I electronically filed the foregoing with
the Clerk of Court using the ECF system that will send notification of such filing to all
parties of record.




                                            /s Martha A. Paluch
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